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                                   9                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  12
Northern District of California
 United States District Court




                                  13   UNITED STATES OF AMERICA,
                                  14                  Plaintiff,                             No. CR 14 -00175 WHA

                                  15           v.

                                  16   PACIFIC GAS AND ELECTRIC                              FURTHER ORDER TO SHOW
                                       COMPANY,                                              CAUSE (RE BONUSES)
                                  17
                                                      Defendant.
                                  18
                                  19        PG&E has fallen behind on its promise (and probation condition) to remove hazard trees
                                  20   and limbs that risk blowing onto distribution lines and thereby sparking wildfires during
                                  21   windstorms. In April 2019, Judge Dennis Montali, United States Bankruptcy Judge for the
                                  22   Northern District of California, approved, with certain modifications, PG&E’s 2019 short-term
                                  23   incentive plan. The short-term incentive plan allowed for an aggregate maximum payout of
                                  24   $350 million for PG&E non-insider employees in 2019 based on metrics such as public safety,
                                  25   gas inspection miles, and financial performance (Dkt. Nos. 806, 1751). Later, in August 2019,
                                  26   Judge Montali denied PG&E’s motion for approval of a 2019 Key Employee Incentive
                                  27   Program that would allow the company’s 12 senior executive officers to receive a bonus of up
                                  28   to $16 million in total on the ground that “there is simply no justification for diverting
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                                   1   additional estate funds to incentivize them to do what they should already be doing.” The

                                   2   order did, however, allow PG&E to file another similar motion if it focused “only on safety

                                   3   and premised payout solely on some form of equity participation” (Dkt. No. 3773). PG&E has

                                   4   not moved for such.

                                   5        PG&E shall accordingly show cause at a hearing on FEBRUARY 19 AT 8 A.M why it

                                   6   should not, going forward, restrict all bonuses and other incentives for supervisors and above

                                   7   exclusively to achieving the PG&E Wildfire Mitigation Plan and other safety goals. At least

                                   8   one week before the hearing, PG&E should submit its response.

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                                  10        IT IS SO ORDERED.

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                                  12   Dated: January 24, 2020.
Northern District of California
 United States District Court




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                                                                                             WILLIAM ALSUP
                                  15                                                         UNITED STATES DISTRICT JUDGE
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